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    8
                              UNITED STATES DISTRICT COURT
    9
               CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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   11
      JUSTIN RINGGOLD-LOCKHART As                   CASE NO.: 2:17-cv-06296-JLS-SKx
   12 Personal Representative of the Estate of
      Eddy Melaragno; NINA RINGGOLD In              JUDGMENT
   13
      the Capacity As a Named Agent Under
   14 Advance Health Care Directive and In
                                                    Hon. Josephine L Staton, Judge
      her Individual Capacity                       Dept. 10A
   15

   16                          Plaintiffs,          Complaint Filed: August 25, 2017
                                                    Trial Date:      Not Yet Set
   17         vs.
   18
      PROVIDENCE HEALTH & SERVICES
   19 and DOES 1-10

   20                          Defendants.
   21

   22
              This action came before the Court by Defendant Providence Health &
   23
        Services’ Renewed Motion for Judgment on the Pleadings, in chambers, on
   24
        November 2, 2021, before the Court, Hon. Josephine L. Staton, District Judge
   25
        Presiding. The Motion presented having been fully considered. Plaintiff Nina
   26
        Ringgold failed to file any opposition to the Motion by the deadline (or thereafter).
   27
        The matter had been set for hearing on November 5, 2021. The issues having been
   28
        fully considered, with opportunity to be heard, and a decision having been duly
                                                   1
                                              JUDGMENT
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    1   rendered,
    2          IT IS ORDERED AND ADJUDGED that the plaintiffs take nothing, that the
    3 action be dismissed on the merits, and that Defendant Providence Health &

    4 Services recover its costs.

    5          DATED: November 4, 2021

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                                                        JOSEPHINE L. STATON
                                                                 JOSEPHINE L. STATON
    8                                                            United States District Judge
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                                                        JUDGMENT
